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                        EXHIBIT F
Case 2:15-cv-06454-ODW-RAO Document 1-6 Filed 08/24/15 Page 2 of 9 Page ID #:165


       1   LEE IRAN & LIANG LLP
             K. Luan Tran (SBN 193808)
      2     Joe H. Tuffaha (SBN 253723)
            Julie A. Choi (SBN 281100)                     CONFORMED COfj
      3                                                         OF original FILED
           601 South Figueroa Street, Suite 3900               Los             Court
           Los Angeles, California 90017
      4    (213)612-8900 (telephone)                                 AUG 2 4 2015
           (213) 612-3773 (facsimile)
      5                                                    Sherri R. Carter, Executive Officer/Cterk
           Attorneys for Defendant                                 By: Moses Soto, Deputy
      6    Solomon Bier

      7

      8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

      9                              FOR THE COUNTY OF LOS ANGELES

     10
           FITSPOT VENTURES, LLC, a Delaware limited   Case No. BC590952
     11
           liability company.
     12                                                SOLOMON BIER'S ANSWER TO
                                Plaintiff,
                                                       PLAINTIFF'S COMPLAINT
      13
                  V.
                                                       DEMAND FOR JURY TRIAL
      14
           SOLOMON BIER, an individual; and DOES 1-
      15
           25, inclusive.
                                 Defendants.
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                                                                                                   ANSWER
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     1          Defendant Solomon Bier (“Defendant”) hereby answers the allegations of Plaintiff
     2 Fitspot Ventures, LLC (“Plaintiff”) as set forth in its unverified Complaint (the “Complaint”) as
     3 follows:
     4
     5                                        GENERAL DENIAL
     6          Defendant denies, generally and specifically, each and every allegation of the Complaint,
     7 and further denies that Plaintiff has sustained damages in any manner, amount, or sum
     8 whatsoever, by reason of any act or omission on the part of Defendant, or on the part of any of
     9 his agents, servants, or employees.
    10
    11                                    AFFIRMATIVE DEFENSES
    12          Defendant sets forth below its affirmative defenses. Each defense is asserted as to all
    13 causes of action against Defendant. By setting forth these affirmative defenses, Defendant does
    14 not assume the burden of proving any fact, issue, or element of a cause of action where such
    15 burden properly belongs to Plaintiff. Moreover, nothing stated herein is intended or shall be
    16 construed as an acknowledgment that any particular issue or subject matter necessarily is
    17 relevant to Plaintiff’s allegations. As separate and distinct affirmative defenses, Defendant
    18 alleges as follows:
    19                                 FIRST AFFIRMATIVE DEFENSE
    20                                 (Failure to State a Cause of Action)
    21          1.      Defendant is informed and believes, and thereon alleges, that the Complaint fails
    22 to state facts sufficient to state a cause of action against Defendant upon which relief may be
    23 granted.
    24                               SECOND AFFIRMATIVE DEFENSE
    25                                       (Statute of Limitations)
    26          2.      Defendant is informed and believes, and thereon alleges, that the purported claims
    27 and causes of action set forth in the Complaint are barred by the applicable statutes of limitation
    28 including, but not limited to, those set forth in Cal. Code Civ. Proc. §§ 337, 338, 339, 340, and
         3426.6.

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                                                                                                  ANSWER
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     1                                 THIRD AFFIRMATIVE DEFENSE
     2                                              (Ratification)
     3           3.     Defendant is informed and believes, and thereon alleges, that Plaintiff knew,
     4 approved of and ratified all actions of Defendant including the actions complained of herein.
     5
     6                                FOURTH AFFIRMATIVE DEFENSE
     7                                           (Equitable Estoppel)
     8           4.     Plaintiff’s claims are barred by reason of acts, omissions, representations and
     9 courses of conduct by Plaintiff on which Defendant was let to rely to his detriment, thereby
    10 barring, under the doctrine of equitable estoppel, and claims in the Complaint.
    11
    12                                  FIFTH AFFIRMATIVE DEFENSE
    13                                                (Consent)
    14           5.     Defendant is informed and believes, and thereon alleges, that Plaintiff consented
    15 to all alleged conduct of this answering Defendant.
    16
    17                                 SIXTH AFFIRMATIVE DEFENSE
    18                                              (Justification)
    19           6.     Defendant is informed and believes, and thereon alleges that any recovery on the
    20 Complaint or any cause of action alleged therein is barred on the ground that every action taken
    21 with respect to Plaintiff is justified.
    22
    23                               SEVENTH AFFIRMATIVE DEFENSE
    24                                   (Excuse of Duty of Performance)
    25           7.     Defendant is informed and believes, and thereon alleges that if any contracts,
    26 obligations or agreements as alleged in the Complaint have been entered into, any duty or
    27 performance of Defendant is excused by reason of failure of consideration, waiver, release,
    28 breach of condition precedent, breach by Plaintiff, impossibility of performance, prevention by
         Plaintiff, frustration of purpose and/or acceptance by Plaintiff.

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     1
     2                               EIGHTH AFFIRMATIVE DEFENSE
     3                                                (Laches)
     4          8.      Defendant is informed and believes, and thereon alleges, that this action is barred
     5 by the doctrine of laches.
     6
     7                                NINTH AFFIRMATIVE DEFENSE
     8                                         (Failure to Mitigate)
     9          9.      Defendant is informed and believes, and thereon alleges, that if Plaintiff suffered
    10 any loss, damage or detriment as alleged in the Complaint or otherwise, it was directly and
    11 proximately caused and contributed to by the conduct of Plaintiff in that Plaintiff did not exercise
    12 reasonable care or caution to mitigate its damages. Plaintiff is thereby completely or partially
    13 barred from recovery.
    14
    15                                TENTH AFFIRMATIVE DEFENSE
    16                                        (Conduct of Plaintiff)
    17          10.     Plaintiff’s own conduct prevents it from recovering on the purported claims or
    18 causes of action set forth in the Complaint.
    19
    20                              ELEVENTH AFFIRMATIVE DEFENSE
    21                                           (Unclean Hands)
    22          11.     Defendant is informed and believes, and thereon alleges, that Plaintiff is barred
    23 from any recovery by the doctrine of unclean hands.
    24
    25                              TWELFTH AFFIRMATIVE DEFENSE
    26                                (No Punitive or Exemplary Damages)
    27          12.     Defendant is informed and believes, and thereon alleges, that any recovery on the
    28 Complaint or any cause of action alleged therein is barred on the ground that Defendant did not
         commit any alleged oppressive, fraudulent or malicious act or authorized or ratified such an act

                                                          3
                                                                                                   ANSWER
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     1 and are also not liable for punitive or exemplary damages because such damages violate the
     2 Constitutions of the United States of America and the State of California and Plaintiff is barred
     3 from any punitive or exemplary damages.
     4
     5                           THIRTEENTH AFFIRMATIVE DEFENSE
     6                                     (Failure of Consideration)
     7          13.    Defendant is informed and believes, and thereon alleges, that the Complaint and
     8 each cause of action is barred by material failures of consideration.
     9
    10                           FOURTEENTH AFFIRMATIVE DEFENSE
    11                                            (No Reliance)
    12          14.    Defendant is informed and believes, and thereon alleges, that Plaintiff is barred
    13 from bring this Complaint because Plaintiff lacked reasonable reliance on Defendant’s
    14 representation, if any.
    15
    16                            FIFTEENTH AFFIRMATIVE DEFENSE
    17                                        (Unjust Enrichment)
    18          15.    Defendant is informed and believes, and thereon alleges, that Plaintiff is barred
    19 from bringing this Complaint because any recovery by Plaintiff will result in unjust enrichment.
    20
    21                            SIXTEENTH AFFIRMATIVE DEFENSE
    22                                       (Doctrine of Adhesion)
    23          16.    Defendant is informed and believes, and thereon alleges, that the Complaint and
    24 each cause of action therein is barred by the doctrine of adhesion.
    25
    26                           SEVENTEENTH AFFIRMATIVE DEFENSE
    27                                  (Doctrine of Unconscionability)
    28


                                                         4
                                                                                                  ANSWER
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     1           17.    Defendant is informed and believes, and thereon alleges, that the Complaint and
     2 each cause of action therein is barred by the doctrine of unconscionability.
     3
     4                             EIGHTEENTH AFFIRMATIVE DEFENSE
     5                                                 (Fraud)
     6           18.    Each and every cause of action in the Complaint fails because one or more of the
     7 contracts alleged in the Complaint were procured through fraud on the part of Plaintiff.
     8
     9                             NINETEENTH AFFIRMATIVE DEFENSE
    10                                                (Mistake)
    11           19.    The Complaint is barred by reasons of the provisions of Cal. Civ. Code §§ 1567,
    12 1576, 1577, and 1578 respecting mistake of facts and law.
    13
    14                              TWENTIETH AFFIRMATIVE DEFENSE
    15                                           (No Mutual Assent)
    16           20.    Each and every cause of action in the Complaint fails because one orm ore of the
    17 contracts alleged in the Complaint lacks mutual assent.
    18
    19                            TWENTY-FIRST AFFIRMATIVE DEFENSE
    20                                          (Jurisdiction/Venue)
    21           21.    This Court lacks jurisdiction over this action, or this action is improperly venued
    22 in this Court, in that original jurisdiction of this matter properly lies in the United States District
    23 Court.
    24
    25                          TWENTY-SECOND AFFIRMATIVE DEFENSE
    26                                   (Additional Affirmative Defenses)
    27           22.    Defendant is informed and believes, and thereon alleges, that it cannot fully
    28 anticipate all affirmative defenses that may be applicable to the within action. Accordingly, the
         right to assert additional affirmative defenses, if and to the extent that such affirmative defenses

                                                           5
                                                                                                      ANSWER
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     1 are applicable, is hereby reserved.
     2         WHEREFORE, Defendant prays as follows:
     3         1. That Plaintiff takes nothing on its Complaint;
     4         2. That the Complaint be dismissed, in its entirety, with prejudice;
     5         3. That judgment be entered in favor of Defendant;
     6         4. That Defendant be awarded for costs of the suit herein;
     7         5. That Defendant be awarded reasonable attorneys’ fees; and
     8         6. That Defendant be granted such other and further relief as the Court may deem just
     9 and proper.
    10
    11 DATED: August 24, 2015.                      LEE TRAN & LIANG LLP

    12
                                                    By
    13                                                   K. Luan Tran
                                                         Joe H. Tuffaha
    14                                                   Julie A. Choi
                                                         Attorneys for Defendant Solomon Bier
    15
    16
    17
    18
    19                                  DEMAND FOR JURY TRIAL
    20         Defendant hereby demands a trial by jury on all matters entitled to a jury trial in the
    21 above-entitled action.
    22
    23 DATED: August 24, 2015.                      LEE TRAN & LIANG LLP
    24
    25                                              By
                                                         K. Luan Tran
    26                                                   Joe H. Tuffaha
                                                         Julie A. Choi
    27                                                   Attorneys for Defendant Solomon Bier

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                                                          6
                                                                                                   ANSWER
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     1                                        PROOF OF SERVICE
       STATE OF CALIFORNIA)
     2 COUNTY OF LOS ANGELES)
     3        I am employed in the county of Los Angeles State of California. I am over the age of 18
       and not a party to the within action; my business address is: 601 S. Figueroa Street, Suite 3900,
     4 Los Angeles, CA 90017.
     5         On August 24, 2015, I served the foregoing document(s) described as:
       SOLOMON BIER’S ANSWER TO PLAINTIFF’S COMPLAINT on the interested parties in
     6 this action.
     7    Maurice David Pessah, Esq.                          Attorney for Plaintiff
          Pessah Law Group, PC                                Fitspot Ventures, LLC
     8    10100 Santa Monica Blvd., 3rd Floor
          Los Angeles, CA 90067
     9    Tel: 310-772-2261
          Fax:
    10    Email: maurice@pessahgroup.com
    11
         [X]    BY MAIL I placed such envelope in the mail at Los Angeles, California. The envelope
    12          was mailed with postage thereon fully prepaid.
    13          As follows: I am "readily familiar" with the firm's practice of collection and processing
                correspondence for mailing. Under that practice it would be deposited with U.S. Postal
    14          Service on that same day with postage thereon fully prepaid at Los Angeles, California in
                the ordinary course of business. I am aware that on motion of the party served, service is
    15          presumed invalid if postal cancellation date or postage meter date is more than one day
                after date of deposit for mailing in affidavit.
    16
         [ ]    BY OVERNIGHT COURIER I caused each envelope with fees prepaid shipped by
    17          Federal Express.
    18 [ ]      BY PERSONAL SERVICE I arranged for First Legal Attorney Messenger Services to
                deliver such envelope by hand to the individuals listed above.
    19
         [ ]    BY ELECTRONIC MAIL I transmitted the above listed document(s) to the e-mail
    20          address(es) set forth above on this date.
    21 Executed on August 24, 2015, at Los Angeles, California.
    22 [X]      (State) I declare under penalty of perjury under the laws of the State of California that the
                above is true and correct.
    23
         [ ]    (Federal) I declare that I am employed in the office of a member of the bar of this court at
    24          whose direction the service was made.
    25
    26              Lynette W. Suksnguan
                         Print Name                                            Signature
    27
    28


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                                                                                           PROOF OF SERVICE
